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Leave to file GRANTED
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United States District Judge
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA 9-29- 3030

UNITED STATES OF AMERICA, - )
)
V. )
) Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN, ) ,
)
)

Defendant. Judge Sullivan

MOTION OF LAWYERS DEFENDING AMERICAN DEMOCRACY, INC.
FOR LEAVE TO FILE A BRIEF AS AMICUS CURIAE IN OPPOSITION
TO THE GOVERNMENT’S MOTION TO DISMISS

In accordance with the Court’s Minute Order of May 19, 2020, Lawyers Defending
American Democracy, Inc. (“LDAD”) respectfully moves for leave to file a brief as amicus curiae
in opposition to the Government’s May 7, 2020 Motion to Dismiss, ECF No. 198.

LDAD is a not-for-profit non-partisan organization qualified under Internal Revenue Code
§ 501(c)(4) and incorporated in Massachusetts. Its purpose is to foster adherence to the rule of law.
Since its founding in January 2019, LDAD has issued Open Letters and statements calling for
adherence by public officials to the rule of law and encouraging our fellow lawyers, the leaders of
national, state, and local bar associations, and the Jegal academy to join us in speaking out against
threats to the rule of law. LDAD’s Open Letters have been signed by over 1500 lawyers, including
former federal and state judges, former United States Attorneys, law deans and professors from
around the country. Our Open’ Letters and statements are available at
https://lawyersdefendingdemocracy.org/statements/.

The Government’s motion seeks leave to dismiss with prejudice a serious charge against a

former senior federal official with friends in high places, for reasons that do not withstand scrutiny,
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directly implicates the rule of law and constitutes a substantial threat to public confidence in the
administration of justice.

Because the Government and the Defendant are aligned with respect to the Government’s
motion, the normal adversary process does not function. The views of amici that, like LDAD, are
associated with neither side are therefore necessary to aid the Court in fully and fairly examining
the issues. The matters addressed in the brief tendered herewith are directly relevant to the issues
presented by the Government’s motion.

We requested the consent of the parties by email but they have not responded.

For the foregoing reasons, LDAD respectfully moves for leave to file a brief as amicus

curiae brief. The brief and a proposed Order are submitted with this motion.

Respectfully submitted,

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May 21, 2020
